                   Case 4:22-cv-03117-YGR Document 7 Filed 05/31/22 Page 1 of 2


AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                     Northern District of California                              E]
     METALLURGICAL PLANT KAZSILICON LLP                                          )
                                                                                 )
                                                                                 )
                                                                                 )
                            Plainti.ff(s)
                                                                                 )
                                                                                 )
                                 V.                                                               Civil Action No.        4:22-cv-03117-YGR
                                                                                 )
          CLEAN POWER INNOVATIONS, LLC                                           )
                               Innovation                                        )
                                                                                 )
                                                                                 )
                           Defendant(s)                                          )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)                       Innovation
                                        CLEAN POWER INNOVATIONS, LLC
                                        c/o Kamel A. Ounadjela, Chief Executive Officerr and Agent for Service of Process
                                        837 Miramar Terrace
                                        Belmont, CA 94002



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                DILLINGHAM & MURPHY, LLP
                                WILLIAM F. MURPHY, ESQ.
                                J. CROSS CREASON, ESQ.
                                        155 SANSOME STREET, SUITE 700
                                        SAN FRANCISCO, CA 94104
                                        TELEPHONE: 415-397-2700

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
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         May 31, 2022
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Date: _ _ _ _ _ _ _ _ __
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Civil Action No. 4:22-cv-03117-YGR

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R.. Civ. P. 4 (l))

           This summons for (name ofindividual and title, if any)
was received by me on (date)

           •   I personally served the summons on the individual at (place)
                                                                                on (date)                            ; or

           •   I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
         -----------------
           on (date)                               ' and mailed a copy to the individual's last known address; or

          •    I served the summons on (name ofindividual)                                                                    , who is
           designated by law to accept service of process on behalf of (name oforganization)
                                                                                on (date)                            ; or

          •    I returned the summons unexecuted because                                                                           ; or

          •    Other (specify):




          My fees are$                             for travel and $                  for services, for a total of$          0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server's signature



                                                                                        Printed name and title




                                                                                            Server's address

Additional information regarding attempted service, etc:
